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                          UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF OKLAHOMA

   LESLIE FARMER, an individual,       )
                                       )
                   Plaintiff,          )
                                       )
   v.                                  )                Case No.: 16-cv-374-GKF-FHM
                                       )
   PROGRESSIVE NORTHERN INSURANCE )
   COMPANY, a foreign for profit       )
   business, PROGRESSIVE INSURANCE     )
   COMPANY [SIC], a foreign for profit )
   business, PROGRESSIVE SPECIALTY     )
   INSURANCE AGENCY, INC.,             )
   a foreign for profit business,      )
   PROGRESSIVE GROUP OF                )
   INSURANCE COMPANIES [SIC],          )
   a foreign for profit business,      )
   PROGRESSIVE DIRECT GROUP            )
   OF INSURANCE COMPANIES [SIC],       )
   a foreign for profit business,      )
                                       )
                   Defendants.         )


                            JOINT STIPULATION OF
                  DISMISSAL WITH PREJUDICE OF DEFENDANTS
               PROGRESSIVE INSURANCE COMPANY, PROGRESSIVE
            SPECIALTY INSURANCE AGENCY, INC., PROGRESSIVE GROUP
          OF INSURANCE COMPANIES, AND PROGRESSIVE DIRECT GROUP
        OF INSURANCE COMPANIES, A FOREIGN FOR PROFIT BUSINESS, ONLY

          The following parties to this lawsuit, Plaintiff, Leslie Farmer, and Defendant, Progressive

   Northern Insurance Company, pursuant to Fed. R. Civ. P. 41, stipulate this case should be dismissed

   with prejudice as to Defendants, Progressive Insurance Company, Progressive Specialty Insurance

   Agency, Inc., Progressive Group of Insurance Companies, and Progressive Direct Group of Insurance

   Companies, only.
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         Dated this 21st day of July 2016.



   /s Amber Peckio Garrett                       /s Brad L. Roberson
   (Signed by Filing Attorney with               Brad L. Roberson, OBA No. 18819
   Permission of Attorney)                       PIGNATO, COOPER, KOLKER & ROBERSON, P.C.
   Amber Peckio Garrett, OBA No. 19908           Robinson Renaissance
   GARRETT LAW CENTER, P.L.L.C.                  119 North Robinson Avenue, 11th Floor
   Post Office Box 1349                          Oklahoma City, Oklahoma 73102
   Tulsa, Oklahoma 74101                         Telephone:   405-606-3333
   Telephone:     918-895-7216                   Facsimile:   405-606-3334
   Facsimile:     918-895-7217                   ATTORNEYS FOR DEFENDANT
   ATTORNEYS FOR PLAINTIFF




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